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 7
     RYAN CARROLL

 8
                            IN THE UNITED STATES DISTRICT COURT
 9
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11                                    SAN FRANCISCO DIVISION

12

13

14    UNITED STATES OF AMERICA                            No. CR-13-00566-EMC
15
                     Plaintiff,
16                                                        DEFENDANT RYAN CARROLL’S
            vs.                                           SENTENCING MEMORANDUM
17
      RYAN CARROLL                                        Date: November 18, 2015
18
                                                          Time: 2:30 p.m.
19                   Defendant.                           Ct: The Honorable Edward M. Chen

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22
            Defendant Ryan Carroll submits the following memorandum in support of his request for
23
     a sentence of one hundred and eighty months of incarceration, pursuant to the Plea Agreement.
24
     This sentence is “sufficient, but not greater than necessary” to achieve the purposes of sentencing
25
     that are set forth in 18 U.S.C § 3553(a)(2). Based on the factors set forth in the Presentence
26
     Report (“PSR”), the sentence is sufficient, under the Sentencing Guidelines.
27
            I.      PLEA AND ADVISORY GUIDELINE RANGE
28
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 1          Mr. Carroll pled guilty to a violation of using a firearm in furtherance of a crime of
 2   violence causing murder, 18 U.S.C § 924(j). The parties reached a plea agreement in this case
 3   under Federal Rules of Criminal Procedure 11(c)(1)(A) and 11(c)(1)(C). The parties stipulated
 4   in the plea agreement that Mr. Carroll’s base offense level is 35, and that there is also grounds
 5   for an additional downward departure. The Probation Officer’s recommendation agrees with the
 6   adjustment in the offense level based on USSG § 2A1.1, commentary n. 2(B), and also finds that
 7   a variance is appropriate under 18 USSG § 3553(a), based on Mr. Carroll’s history and his
 8   efforts to proactively engage in activities that “establish a healthy foundation for his release.”
 9   (Dkt. No. 207 at p.23, final PSR) These are factors, based on the Guidelines, that support the
10   sentence to which the parties have agreed and that the Court indicated it accepted.
11          II.     FACTUAL BACKGROUND SUPPORTING VARIANCE UNDER 18 U.S.C.
12          SECTION 3553(a)
13          Section 3553(a)(1) is a “broad command to consider ‘the nature and circumstances of the
14   offense and the history and characteristics of the defendant.’” Gall v. U.S., 552 U.S. 38, 49 n.6
15   (2007). The Gall Court considered the defendant’s rehabilitation, family connections, lack of
16   further criminal activity, and efforts to better himself when affirming a sentence that was a
17   substantial variance from the guidelines. There, the lower court found that “‘imprisonment
18   would be counter effective by depriving society of the contributions of the Defendant, who, the
19   Court has found, understands the consequences of his criminal conduct and is doing everything
20   in his new power to forge a new life.’” Id. at 44.
21          Mr. Carroll deeply regrets the choices he made that have led him to this point. At the
22   time of the offense, he had fallen into a lifestyle that is not uncommon for those who suffer
23   childhood trauma, neglect, and abuse. He coped with his problems with drugs, and he did not
24   have any guidance to help him make good decisions or change the direction of his life. All of
25   this, however, does not excuse his conduct that led to the death of the victim, and Mr. Carroll
26   carries this burden. He has accepted responsibility for his conduct, and believes that his post-
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 1   offense rehabilitation will allow him to become a productive and positive member of the
 2   community after his incarceration.
 3              Ryan Carroll is a person who has faced significant loss and trauma in his life that no one
 4   could bear without a support network, and Mr. Carroll did not have this. Mr. Carroll’s history is
 5   fairly described in the final Presentence Report. Likewise, as indicated in the PSR, the instant
 6   offense was by far the most serious crime in his criminal history.
 7              Mr. Carroll well understands the seriousness of the offense. Prior to his incarceration, he
 8   was trying to turn his life around and was attending community college.1 He has taken steps to
 9   rehabilitate while he has been in custody, as noted in the PSR, and he will continue to do so. He
10   has a plan to continue his education in custody and when released. He understands that he must
11   make education, work, and sobriety the focus, so that he can lead a productive life.
12              Importantly, this crime occurred when Mr. Carroll was very young, just 23 years old. He
13   is older now, and he has spent years thinking about the crime he committed. He has had time to
14   think about how his difficult youth affected him, and he has made efforts to rid himself of
15   addiction. The most important thing for Mr. Carroll in preventing recidivism will be his ability
16   to obtain further education and employment opportunities. He has shown a willingness to further
17   his education and an ability to gain employment. His engagement with proactive social groups
18   during incarceration demonstrates his leadership abilities and his ability to commit to work and
19   positive action.
20              While the seriousness of the offense is significant, no sentencing goals will be achieved
21   by a prison sentence longer than fifteen years. As the Probation Officer noted, Mr. Carroll’s
22   release will be at an age when criminal behavior is much less likely. A one hundred eighty
23   month sentence is a significant time period which will punish Mr. Carroll greatly, and it will
24   certainly deter him from further recidivism, because he understands the positive contributions he
25   can make to his community when he is free.
26

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         Mr. Carroll’s Edmonds Community College Transcript is attached as Exhibit A.
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 1           Finally, Mr. Carroll is remorseful and ashamed that he made these decisions and is before
 2   this Court, and he regrets that he took part in an offense that took someone’s life. Mr. Carroll
 3   knows that he will be incarcerated for his actions, but also knows and is grateful that he will have
 4   a second chance. He will do all he can to learn how to cope with his problems, make better
 5   choices, and set goals for himself. He is determined to put his life back on a positive and
 6   productive course, which is leading a law-abiding life, with work and education. Because this
 7   offense was a great aberration with respect to Mr. Carroll’s history, this Court can be assured Mr.
 8   Carroll will be deterred from committing any further criminal acts by a sentence of one hundred
 9   and eighty months.
10           IV.      RESTITUTION
11           Restitution in this matter is controlled by the Mandatory Victims Restitution Act
12   (“MVRA”), 18 U.S.C. 3663A. Additionally, "[f]ederal courts have no inherent power to award
13   restitution, but may do so only pursuant to statutory authority." United States v. Follet, 269 F.3d
14   996, 998 (9th Cir. 2001).
15           Here, the victim’s mother has requested restitution for five years of her lost income,
16   totalling $750,000.00, which she did not gain because of her early retirement. She indicates that
17   she retired early due to the toll that cancer treatment along with pain, suffering, and shame took
18   on her, resulting from her son’s murder. However, the confines of § 3663A do not permit the
19   Court to make an order for her lost wages. See, United States v. Cienfuegos, 462 F.3d 1160,
20   1163-1164 (9th Cir. 2006) (holding that the victim’s estate may make a restitution claim only for
21   the victim’s lost wages); 18 U.S.C. § 3663A(b)(2)(C). As such, no restitution for the victim’s
22   mother’s lost wages may be ordered.
23           The victim’s mother also requests restitution in the amount of $10,000.00 for prescription
24   drugs. There is no indication of whether these are cancer drugs or drugs related to her
25   psychological stress. Regardless, she cannot recover this via restitution.2 First and foremost, she
26

27   2
      Note that § 3663A does not provide for recovery of tort-like damages, such as emotional distress, pain and
     suffering, and loss of consortium.
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 1   is not the victim in this matter. Second, even if the Court were to consider her a “victim,” the
 2   MVRA only allows for restitution orders for psychological care when there has been bodily
 3   injury to the victim, and she did not suffer any physical injury. See, 18 U.S.C. 3663A(b)(2)(A).
 4              Regarding the storage costs of $2150.00, there is no sufficient documentation or
 5   explanation for how this cost falls within the MVRA’s purview, and it cannot be recovered. See,
 6   18 U.S.C. § 3663.
 7              Regarding the restitution claim of $2000.00 for the car, Mr. Carroll is not liable for this,
 8   because he was not convicted of any offense resulting in damage to or loss or destruction of
 9   property of a victim.” 18 U.S.C. § 3663A(b)(1). The MVRA clearly states that “when
10   sentencing a defendant convicted of an offense described in subsection (c), the court shall order, .
11   . . that the defendant make restitution to the victim of the offense or, if the victim is deceased, to
12   the victim’s estate.” 18 U.S.C. § 3663A(a)(1)
13              Mr. Carroll submits that, under 18 U.S.C. § 3663A(b)(3), he is liable for the costs of the
14   victim’s funeral expenses of $4000.00.
15              Mr. Carroll was unaware of the amount of restitution until after the time of the plea,3 and
16   no sufficient justification or documentation has been provided to justify the amount of the
17   restitution, for many of the claimed expenses. It is the government’s burden to demonstrate the
18   amount of loss. Cienfuegos, 462 F.3d at 1168-69.
19
                If the Court is considering awarding the victim’s mother restitution covering her lost
20
     wages, prescription drugs, or storage, Mr. Carroll requests a future hearing on this matter, so that
21
     both sides may fully brief this issue after receipt of additional documentation.
22
                Mr. Carroll requests that the Court go forward with the sentencing on November 18,
23
     2015, even if it reserve the restitution hearing for a later date.
24
                V.       REQUEST FOR DESIGNATION
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     3
         The mother’s victim impact statement declaration of loss is dated August 28, 2015.
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 1          Mr. Carroll requests that the Court recommend that he be designated by the Bureau of
 2   Prisons to FCI Florence, because he hopes to reconnect with his family after sentencing, and this
 3   prison is in close proximity to Southern Illinois, where his family resides, and because it offers
 4   educational programs and work programs that he would like to participate in.
 5          Mr. Carroll also requests that the Court recommend to the Bureau of Prisons that he be
 6   designated to FCI Sheridan, because it is near to the Seattle area where he has a community and
 7   a history of employment, and because it offers educational programs and work programs that he
 8   would like to participate in.
 9          Mr. Carroll further requests that the Court make a recommendation to the Bureau of
10   Prisons that the Bureau of Prisons waive the Public Safety Factors that may be associated with
11   this case. The reason for this is that Mr. Carroll hopes to gain college credits or professional
12   certificates while he is in prison, and he will be ineligible for many of the prisons with good
13   programming if the public safety factors are not waived.
14
            VI.     CORRECTION OF PSR
15
            Undersigned counsel provided documentation to the Probation Officer that Mr. Carroll
16
     has obtained his GED, and Mr. Carroll requests that the Court order that the Presentence Report
17
     be amended to reflect this. (Exhibit A)
18
                                           CONCLUSION
19
            Based on the above, the defendant respectfully requests that this Court sentence him to
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     one hundred eighty months of imprisonment, pursuant to the Plea Agreement.
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22
     Dated: November 11, 2015                      Respectfully Submitted,
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24
                                                   /s/
25                                                 SEVERA KEITH
                                                   Attorney for Defendant
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 1
                                                  EXHIBIT A
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